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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

TERRANCE HUELL LINDSEY,                )
BOP Reg. #10189-003,                   )
  Petitioner,                          )
                                       )   CIVIL ACTION NO. 16-00308-WS
v.                                     )
                                       ) CRIMINAL ACTION NO. 08-061-WS-N

UNITED STATES OF AMERICA,              )
  Respondent.                          )


                                  JUDGMENT

           In accordance with the Order entered this date, it is ORDERED,

     ADJUDGED, and DECREED that Petitioner Lindsey’s Motion to Vacate,

     Set Aside, or Correct Sentence under 28 U.S.C. § 2255 (Doc. 77) is DENIED

     and this action is DISMISSED with prejudice.

           DONE and ORDERED this the 22nd day of February, 2017.


                             s/WILLIAM H. STEELE
                             UNITED STATES DISTRICT JUDGE
